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                     EXHIBIT “A”
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                                                                                Bill of Sale


THAT SKH Management Corp located at 1875 Lexington Ave, ew York, ew York .
10035. ("SELLER") for and in consideration of eighteen million four hundred thousand
US dollars ($18,400,000) in hand paid by Inigo Philbrick, located at 22 Davies St,
London Wl K 3DE, UK ("BUYER") , the sufficiency of which is hereby acknowledged,
that upon receipt of full payment, does by these presents BARGAJN, SELL AND
TRANSFER unto BUYER all right, title and interest in and to the following:

Jean-Michel Basquiat
Humidity
1982
acrylic, oilstick, and Xerox collage on canvas
243.8 x 182.9 ems (96 x 72 ins)
(Hereinafter the "Work")

TO HA VE A D TO HOLD, together with all rights and appurtenances , to BUYER, its
successors and assigns.                                                 1
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                                                                                 f-'.0""~°1
BUYER shajl make full payment of the purchase price ($18,400,000) by COB })i'day
August JZ,1~)16. Payment shall be made by wire in accord with tbe payment information
provided by SELLER. Until payment in full is received by SELLER title shall remain
with Seller. In addition, until payment is received possession and risk of loss shall remain
with SELLER. In the event of the SELLER being unable to deliver the Work for any
reason before receipt of full payment the Buyers' shall have no recourse.

SELLER represents and warrants that it is the sole, absolute and beneficial owner of the
Work and that its title to the Work is free and clear of any and all claims, charges, liens ,
or encumbrances of any kind, nature or description affecting the Work including, but not
limited to, any claim of any government or governmental agency. SELLER states further
that it has full right, power and authority to convey good, complete and unencumbered
title of the Work to BUYER, to make the representations and warranties contained herein
on his behalf, and to accept the consideration given by him in full payment fo r the Work

SELLER represents and warrants that there are no actions which could affect or which
relate to the foregoing Work pending against it in any court; nor are there any replevins,
judgments or executions outstanding against it now in force; nor has any petition in
bankruptcy or arrangement been filed by or against it; nor bas he taken advantage of any
law relating to insolvency.

 SELLER represents and expressly warrants that the foregoing description of the Work is
 accurate and that the Work is in good condition per the report completed by
 Contemporary Conservation and dated July 251h, 2016. SELLER represents that to its
 knowledge any and all information imparted to BUYER regarding the Work is accurate
 and complete and that it has no knowledge of any challenge to his title or to the
 authenticity of the Work. In the event that any representation made by SELLER in regard
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to the Work is demonstrably and materially not accurate Buyer may cancel the sale and
return the Work for the purchase price which shall be its sole remedy. This warranty will
have a 5-year term.
The parties having read this agreement, being the sole agreement between for the sale of
the Work, understand its terms and agree to be bound by them as evidence by their or
their authorized agents signatures set forth below.

EXECUTED this 1Sl_ day of August, 2016.

The SELLER                                                 The BUYER




SKH Management CORP                                        Inigo Philbrick Limited
